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               USCIS Response to Coronavirus (COVID‑19) (https://www.uscis.gov/about-us/uscis-response-to-covid-19)

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Historical National Median Processing Time (in Months) for All
USCIS Offices for Select Forms By Fiscal Year
Fiscal Year 2017 to 2022 (up to August 31, 2022)


  Next Page (./historic-pt-2)                             Median Processing Times (in Months)
                                The number of months shown is the median. It represents the time it took to complete half of the cases in a given time
                                                                     period.

Form         Form Description                      Classification or Basis for Filing     FY         FY        FY        FY        FY         FY
                                                                                          2017       2018      2019      2020      2021       20225
I-90         Application to Replace                Initial issuance, replacement or          6.8       8.0        7.8       8.3       5.2       1.2
             Permanent Resident Card               renewal
I-102        Application for                       Initial issuance or replacement           4.9       3.9       3.3        3.9       4.0      8.4
             Replacement/Initial                   of a Form I-94
             Nonimmigrant Arrival/Departure
             Record
I-129        Petition for a Nonimmigrant           Nonimmigrant Petition (Premium            0.4       0.4       0.4        0.4       0.3      0.3
             Worker                                filed)
I-129        Petition for a Nonimmigrant           Nonimmigrant Petition (non                3.4       3.8       4.7        2.3       1.8      2.8
             Worker                                Premium filed)
I-129F       Petition for Alien Fiancé(e)          All Classifications                       3.6       6.5       5.2        4.6       8.0      11.6
I-130        Petition for Alien Relative           Immediate Relative                        6.5       7.6       8.6        8.3      10.2      10.2
I-131        Application for Travel Document       Advance Parole Document                   3.0       3.6       4.5        4.6       7.7       7.3
I-131        Application for Travel Document       Parole in Place                           2.5       3.3       3.3        4.8       4.9       4.7
I-131        Application for Travel Document       Travel Document                           4.2       2.9       2.8        4.0       7.2      10.3
I-140        Immigrant Petition for Alien          Immigrant Petition (Premium               0.4       0.3       0.3        0.3       0.4      0.3
             Workers                               filed)
I-140        Immigrant Petition for Alien          Immigrant Petition (non Premium           7.3       8.9       5.8        4.9       8.2      9.9
             Workers                               filed)
I-360        Petition for Amerasian,               Immigrant Petition (All                   6.3       13.3      16.8      11.4       5.5      8.4
             Widow(er), or Special Immigrant       Classifications)
I-485        Application to Register               Based on grant of asylum more             5.5       6.2       6.7        6.9      12.9      22.8
             Permanent Residence or to             than 1 year ago
             Adjust Status
I-485        Application to Register               Based on refugee admission                4.6       6.4       9.4        9.3        7.1     13.8
             Permanent Residence or to             more than 1 year ago
             Adjust Status
I-485        Application to Register               Employment-based adjustment               7.0       10.6      10.0       8.8       9.9      10.8
             Permanent Residence or to             applications
             Adjust Status
I-485        Application to Register               Family-based adjustment                   7.9       10.2      10.9       9.3      12.9      10.4
             Permanent Residence or to             applications
             Adjust Status
I-485        Application to Register               Based on Cuban Adjustment Act             6.2       7.6       11.3       7.1       8.5      6.5
             Permanent Residence or to             of 1966 (CAA)
             Adjust Status
I-485¹       Application to Register               All Other Adjustment of Status            7.4       11.7      24.0      32.7       8.7      9.9
             Permanent Residence or to
             Adjust Status
          Case 1:23-mi-99999-UNA Document 668-5 Filed 03/03/23 Page 2 of 3
Form     Form Description                   Classification or Basis for Filing   FY      FY      FY      FY      FY      FY
                                                                                 2017    2018    2019    2020    2021    20225
I-526    Immigrant Petition By              For use by an investor who            16.6    17.9    19.0    31.1    32.5   44.0
         Alien Entrepreneur                 wishes to immigrate to the
                                            United States
I-539    Application to Extend/Change       All Extend/Change Applications        2.8     3.4     4.4     4.8     9.6     7.0
         Nonimmigrant Status
I-600    Petition to Classify Orphan as an U.S. citizen filing to adopt an        N/A     N/A     N/A     N/A     N/A     N/A
         Immediate Relative                 orphan
I-600A   Application for Advance            U.S. citizen who plans to adopt a     N/A     N/A     N/A     N/A     N/A     N/A
         Processing of Orphan Petition      foreign-born child
I-601A   Application for Provisional        Provisional Waiver of INA 212(a)      4.6     4.5     8.7     11.2    17.1    31.3
         Unlawful Presence Waiver           (9)(B)
I-730    Refugee/Asylee Relative Petition Petition for accompanying family         7.9    10.1    12.4    15.2    20.1   28.4
                                          members of a refugee or an
                                            asylee
I-751    Petition to Remove the             Removal of conditions on lawful       11.8    15.9    14.9    13.8    13.6    17.8
         Conditions on Residence            permanent resident status
                                            (spouses and children of U.S.
                                            citizens and lawful permanent
                                            residents)
I-765    Application for Employment         All other applications for            2.6     3.0     3.4     3.2     3.9     4.1
         Authorization                      employment authorization
I-765    Application for Employment         Based on an approved,                  1.8     1.2     1.1     1.1     1.9    0.5
         Authorization                      concurrently filed, I-821D,
                                            Consideration of Deferred
                                            Action for Childhood Arrivals (c)
                                            (33).
I-765    Application for Employment         Based on a pending asylum              1.7    0.9     2.0     2.5     3.2     9.3
         Authorization                      application
I-765    Application for Employment         Based on a pending I-485              3.0      4.1     5.1    4.8      7.1    6.9
         Authorization                      adjustment application
I-817    Application for Family Unity       Voluntary departure under the          8.1    12.0    9.5     5.3     5.9     6.5
         Benefits                           family unity program and LIFE
                                            Act family unity
I-821    Application for Temporary          To request or reregister for TPS      3.4     2.9     6.4     2.2      4.1    9.9
         Protected Status
I-821D   Consideration of Deferred          Request for Initial Deferred          6.7     10.4    8.9     5.5     5.9     N/A
         Action for Childhood Arrivals      Action
I-821D   Consideration of Deferred          Request for Renewal of                 1.6     1.2     1.1     1.1     1.8    0.5
         Action for Childhood Arrivals    Deferred Action
I-824    Application for Action on an     To request further action on an         3.3     5.9      7.1    6.0     4.4     7.1
         Approved Application or Petition approved application or petition
I-829    Petition by Investor to Remove     Removal of conditions on lawful       18.2    21.8    25.9    24.8    34.5   44.6
         Conditions on Permanent            permanent resident status
         Resident Status                    (immigrant investors)
I-914²   Application for T Non-immigrant    Provide temporary immigration         9.6     12.1    16.2    18.6    18.0   12.9
         Status                             benefits to an alien who is a
                                            victim of trafficking in persons,
                                            and immediate family
I-918³   Petition for U Non-immigrant       Provide temporary immigration         31.5    41.8    48.7    54.3    53.6   59.2
         Status                             benefits to an alien who is a
                                            victim of qualifying criminal
                                            activity, and their qualifying
                                            family
I-924    Application For Regional Center    I-924 - Application For Regional      19.5    19.0    18.8    19.1    22.1    N/A
         Designation Under the              Center Designation Under the
         Immigrant Investor Program         Immigrant Investor Program
               Case 1:23-mi-99999-UNA Document 668-5 Filed 03/03/23 Page 3 of 3
Form         Form Description                     Classification or Basis for Filing   FY       FY       FY        FY       FY       FY
                                                                                       2017     2018     2019      2020     2021     20225
N-400         Application for Naturalization      Application for Naturalization         7.9      9.7      10.0      9.1      11.5   10.8
N-565         Application for Replacement         U.S. citizen applying for a            5.1      3.9       2.4      3.6      6.7    10.7
              Naturalization/Citizenship          replacement of naturalization or
              Document                            citizenship certificate
N-600         Application for Certificate of      Application for recognition of         7.8      9.2       7.1      5.1       5.8    6.4
              Citizenship                         U.S. citizenship
N-600K        Application for Certificate of      Application for Citizenship and        5.9      7.6       6.4      5.7       9.6    6.0
              Citizenship and Issuance of         Issuance of Certificate
              Certificate Under Section 322
Waivers⁴      Waivers                             Excluding I-601A                       9.4      12.8     10.3      7.3       7.6    8.1


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Table Key:
N/A Not available.

References:
  1 Excludes EOIR Adjustment applications.
  2 Includes I-914A, Application for Family Member of T-1 Recipient.
  3 Includes I-918A, Petition for Qualifying Family Member of U-1 Recipient.
  4 Includes the following applications filed to waive exclusionary grounds: Forms I-191, I-192, I-212, I-601, I-602, and I-612.
  5 FY2022 uses data from October 1, 2021 to August 31, 2022.

Note(s):
1) The report reflects the most up-to-date estimate available at the time the database is queried.
2) Processing times may differ from previously published reports due to system updates and post-adjudicative outcomes.
3) Discrepancies from past historical processing time reports may exist due to differences in reporting procedures.
4) Some of the forms have been aggregated.
5) Processing times are defined as the number of months it took for an application, petition, or request to be processed from receipt
to completion in a given time period. Visa regressed I-485s and revoked petitions or applications are excluded. Additional information
on visa retrogression can be found on our website (https://www.uscis.gov/green-card/green-card-processes-and-procedures/visa-
availability-priority-dates/visa-retrogression) (https://www.uscis.gov/green-card/green-card-processes-and-procedures/visa-availability-
priority-dates/visa-retrogression).
6) Historical processing times are not comparable to the processing times posted on the USCIS processing times webpage
(https://egov.uscis.gov/processing-times/) for certain form types due to different methodologies (for example, cycle time methodology
versus processing time methodology). For more information, visit the Case Processing Times webpage
(https://egov.uscis.gov/processing-times/more-info).
7) From FY2017 through FY2021, the processing time for the I-918/I-918A is calculated using the receipt date to waitlist determination
date. Beginning in FY 2022, the processing time is calculated using the receipt date to Bona Fide Determination (BFD) review.
8) Consistent with the July 16, 2021 order (https://www.uscis.gov/DACADecisionStateofTexas) from the Southern District of Texas that
prohibits DHS from granting initial DACA requests, USCIS has suspended calculations of processing times for initial DACA requests.
The 5.9 months historical processing time listed for initial DACA requests was current as of June 30, 2021.
9) Statutory authorization related to the EB-5 Immigrant Investor Regional Center Program expired at midnight on June 30, 2021. For
information regarding Form I-526 petition processing, and the impact of the lapse in statutory authorization related to the EB-5
Immigrant Investor Regional Center Program, please see: https://www.uscis.gov/working-in-the-united-states/permanent-workers/eb-
5-immigrant-investor-program (https://www.uscis.gov/working-in-the-united-states/permanent-workers/eb-5-immigrant-investor-
program)
10) The federal fiscal year is from October 1st through September 30th.
Source(s):
1) Department of Homeland Security, U.S. Citizenship and Immigration Services, USCIS Electronic Immigration System (ELIS), C3
Consolidated, C4 Consolidated, INFACT, queried September 2022.



              Other case processing times resources
               Reducing Processing Backlogs (./reducing-processing-backlogs)
